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                                                        UNITED  STATES DISTRICT COURT
                                                        FOR THE DISTRICT  OF COLUMBIA


 UNITED              STATES                 OF AMERICA



                                                                                                                Crim.      No. 17-232             (EGS)
 MICHAEL                   T. FLYNN

                                                        Defendant



                                      UNCLASSIFIED                            DECLARATION                        OF JOHN              BROWN

            I, John          Brown,          hereby            declare        as follows,         pursuant         to 28     U.S.C.8             1746


INTRODUCTION
                            I am        the Executive                 Assistant          Director       ("EAD")           of the National                 Security           Branch        of

                                                                         66

the Federal              Bureau         of Investigation                ( 'FBI"),         United        States     Department               of Justice               The     purpose


of this declaration                    is to support            the     Government'             s response          to the        Court     's October               23,   2020.


Minute           Order      requiring            the     government              to establish           under     penalty          of perjury           that the


Govemment                 Exhibits          and        Discovery              Documents           are true and correct                copies

             2               As       the EAD            of    the FBI         's National         Security        Branch,         I am     responsible                for, among


other    things,           overseeing             the        national      security       operations            of the     FBI      s Counterintelligence


Division,          Counterterrorism                      Division,            High-Value            Detainee        Interrogation             Group,            Terrorist


Screening            Center,      9
                                      and       Weapons           of Mass         Destruction            Directorate.              The     FBI     's National             Security


Branch       also        guides         the functions              carried       out     by     other    FBI      divisions         that support               the    FBI's


national          security        missions,             such      as training,           technology,            human       resources,            and     any        other


operations           that further            the       FBI     's mission         to defeat         national       security         threats       directed            against        the


United       States.         Inthis         role,       I have        official        supervision          over    all     of the FBI         's investigations                 to


deter,     detect,         and        disrupt      national           security        threats      to the       United      States


             3
                             As       the EAD            of the National                Security        Branch,          I have     also     been        delegated            original


classification             authority            by the         Director         of the     FBI.      See    Executive              Order     13526,        9
                                                                                                                                                               75 F.R.707


(Dec.      29, 2009),             8 1.3(c).             As     a result,       I am     responsible             for the    protection            of     classified         national


security          information             within         the     National         Security         Branch         of the     FBI      and    in matters               affecting        the
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national                   security       mission         of the         FBI,       including            the        sources,       methods,            and        techniques              used      by the


FBI   in the                 collection           of national             security           and        criminal           information            for national                 security


investigations.                          To    that    end,    the       Director        of the           FBI        has     authorized           me     to execute                  declarations


and   affidavits                       to protect       such        information


               4
                                        The     statements              in this declaration                    are     based       on my         review       and             consideration           of


documents                     and        information           made           available            to me           in my      official      capacity,             and on             information


obtained                   from         Special       Agents            and     other FBI               employees              I have       reached          my             stated     conclusions           in


accordance                       with this information


SUMMARY
                   S.                    To the best          of my           knowledge,                and        based     on    the information                     provided           to me,      the


Goverment                          Exhibits           described           in Exhibit           A,   9
                                                                                                         with the           exception        of ECF           Nos.             198- -8 and         249-1


are   true and                    correct        copies        of documents                  and        records,           including        copies         of select             pages       of a larger


record,    9
                       maintained               by    the FBI            pursuant       to the applicable                      records       retention             policy.             See   ECF      Nos.

 198-2,            198-3,               198-4,       198-5,      198-6,             198-7,     198-9,              198-10,        198-11,    9
                                                                                                                                                  198-12,     9
                                                                                                                                                                       198-13,         and    198-14


                   6


                                         To the best          of my           knowledge,                and        based     on    the information                     provided           to me,      the


Discovery                        Documents              described             in Exhibit           B. with the exception                         of ECF           Nos.          228-3        are    true



and    correct                   copies         of documents                  and    records            maintained             by the      FBI      pursuant                 to the      applicable


records                retention              policy.     See           ECF     Nos.     231-1,            237-1.          251-1,   9
                                                                                                                                         257-1.        259-1,      9
                                                                                                                                                                            259-2,      259-3,      and


264-1

                       7
                                         One     of the       Discovery               Documents                    is a summary            substitution                of      classified        materials


that were                   provided             to DC- -USAO                 by     the FBI.            See         ECF     257- -2. This          summary                    substitution          was


prepared                    by    AUSA            Jocelyn       Ballantine,              and        was       reviewed,            approved,           and        declassified               by the FBI


 To the best                     of my         knowledge,           9
                                                                        and     based        on     the information                     provided        to me,          9    the information


contained                    therein           truly and        correctly            summarizes                    the underlying                classified            information            provided


by    the FBI                    and     maintained            by       the FBI        pursuant               to the applicable                  records      retention                policy




                                                                                                               2
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CONCLUSION
            &



                        In sum,          for   the reasons          explained      herein,       I have     determined           that the     Government


Exhibits        and   the Discovery               Documents          referenced         in Exhibits        A   and      B.    with     the exception        of


ECF     Nos.       198-8,    (
                                  228- -3 and      249-1,     the    accuracy      of    which     are     attested      to    separately,       are true and


correct    copies       of documents,              records,     or summaries             ofdocuments              or records           maintained       by the


FBI     pursuant      to the         applicable      records        retention      policy,       with    the   exceptions            as stated      above   9




which      I understand              will be    addressed       separately


            I declare            under   penalty     of perjury        that     the foregoing           is true   and        correct




                            Dated:       October        26          2020




                                                                                                        Executive            Assistant     Director

                                                                                                        National        Security        Branch
                                                                                                        Federal       Bureau         of Investigation
                                                                                                        Washington,             D.C
